KEKAHA SUGAR CO., LTD., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Kekaha Sugar Co. v. CommissionerDocket No. 15435.United States Board of Tax Appeals13 B.T.A. 690; 1928 BTA LEXIS 3202; October 1, 1928, Promulgated *3202  1.  The determination of a deficiency in tax under the Revenue Act of 1924 does not bar the subsequent determination of a further deficiency.  2.  Payment of a deficiency determined by the Commissioner under the Revenue Act of 1924 does not constitute a final settlement which would bar a subsequent determination.  3.  Congress having prescribed that a determination may be made final and conclusive by an agreement in writing between the taxpayer and the Commissioner with the approval of the Secretary, payment of the amount determined, without any such agreement having been made, can not serve to take the place of the statute and make such determination conclusive.  4.  Amounts paid by petitioner to churches which held services on its plantation and to organizations which did welfare work among its employees held to result in a direct benefit to it and to be deductible in computing taxable income.  5.  Leaseholds acquired at organization in payment for capital stock held to have had no fair market value.  6.  The March 1, 1913, value of leasehold determined for purpose of a deduction for the exhaustion thereof.  7.  Petitioner kept its books and rendered its returns*3203  upon the basis of its annual crops, the planting, cultivation and harvest of which extended over three taxable years.  Its rental was payable in a percentage of sugar produced.  Held, that such rental was properly chargeable against the crop from which it was paid and deductible as an expense of producing that crop.  8.  Cost of reclaiming swamp lands held to be a capital expenditure to be included in petitioner's assets in computing its earned surplus for invested capital purposes.  9.  Assessment under section 328 of the Revenue Act of 1918 denied.  W. W. Spalding, Esq., for the petitioner.  M. N. Fisher, Esq., and L. C. Mitchell, Esq., for the respondent.  PHILLIPS *691  This proceeding is for the redetermination of a deficiency in income and profits taxes for 1920 of $98,776.92 and an overassessment of $10,591.65 for 1921.  The petition, so far as it relates to 1921, has heretofore been dismissed by order of the Board for lack of jurisdiction to redetermine the tax for that year.  It is alleged that the Commissioner was without authority to determine any deficiency for 1920, having previously determined a deficiency for that year*3204  which had been paid.  It is further alleged that the Commissioner committed error in determining the deficiency for 1920 in the following respects: (1) In refusing to allow as a deduction, in computing taxable net income, amounts paid to certain religious and charitable organizations in consideration of services performed upon petitioner's plantation and among its employees, and in reducing invested capital by that portion of such payments in prior years which constituted a part of the cost of unmatured crops; (2) In refusing to allow, in computing invested capital, a surplus of $80,656.90 for the cash value of leaseholds acquired by petitioner at organization; (3) In refusing to allow in computing taxable income, a reasonable deduction for the exhaustion of the March 1, 1913, value of leasehold; (4) In decreasing the deduction from income for rentals by $72,053.22 and in eliminating a part of such amount from earned surplus in computing invested capital; (5) In decreasing the deduction for depreciation of physical assets from $112,554.38 to $40,000; (6) In eliminating from earned surplus, in computing invested capital, the unamortized cost of reclaiming several hundred*3205  acres of swamp lands; (7) In refusing to compute petitioner's tax under section 328 of the Revenue Act of 1918.  *692  FINDINGS OF FACT.  Petitioner is a corporation organized under the laws of Hawaii with its principal office in Honolulu.  In April, 1925, the Commissioner of Internal Revenue mailed to the petitioner notice of the determination of a deficiency in income and profits taxes for the year 1920 of $36,973.40 and an overassessment of income and profits taxes for the year 1919 of $41,493.93.  This notice stated that in accordance with the provisions of section 274 of the Revenue Act of 1924, the petitioner corporation was allowed 60 days from the date of mailing such notice within which to file an appeal with the United States Board of Tax Appeals, contesting in whole or in part the correctness of the respondent's determination No appeal to the United States Board of Tax Appeals was filed by the petitioner from such determination.  On or about December 15, 1925, the net amount of the overpayment of tax for the years 1919 and 1920, as determined by the Commissioner in such letter, was credited by the collector of internal revenue at Honolulu upon an installment*3206  of the petitioner's income taxes for 1924, payable on that date.  Thereafter and on or about March 13, 1926, the respondent mailed to the petitioner notice that he had determined a deficiency in income and profits taxes against the petitioner of $98,776.92 for the year 1920 and an overassessment of $10,591.65 for 1921.  The petitioner within 60 days thereafter filed with this Board its petition for a redetermination of such taxes, which petition is the basis of the present proceeding.  During 1920 and for many years prior thereto the petitioner was engaged in the operation of a sugar plantation, including the operation of its own sugar mill, on the Island of Kauai.  In the Hawaiian Islands a crop of sugar cane takes from eighteen months to two years to mature.  It is usually planted or ratooned in the summer, beginning in April or May, and is brought under cultivation by September.  It is cultivated, fertilized, and irrigated during the second year, and harvested and manufactured into raw or commercial sugar in the third year.  During each calendar year work is being performed on three separate crops: the crop that is being harvested; the crop under cultivation, which was planted*3207  the prior year; and the crop that is being planted, which will be harvested two years thereafter.  The petitioner, with the approval of the Commissioner of Internal Revenue, has for many years kept its accounts and made its Federal income-tax returns on the so-called "crop basis," as permitted by the Treasury Regulations.  The crop basis of accounting is very generally in use on sugar plantations throughout the Islands.  Under this system of accounts a crop is treated as a venture and an account kept for each crop.  All expenses incident to the crop, *693  from the preparation of the soil to the harvest and manufacture of the cane into raw sugar, are charged to the crop account and all receipts from the crop are credited to the crop account.  When the crop is harvested and disposed of the account is closed, and it is then determined whether there has been a profit realized or a loss sustained from the crop.  Under this system of accounting there are items of expense and income that can not be allocated to any particular crop and are properly to be accounted for in the year in which they are incurred or received.  During the years 1918, 1919, and 1920 churches and charitable*3208  organizations, at the instance and request of the petitioner, conducted church services upon petitioner's plantation and aided the petitioner in various ways in its welfare work among its employees.  During 1918 the petitioner paid to such organizations $1,030.30, of which one-third, $343.43, was charged against the 1920 crop.  During the year 1919 it paid to such organizations $1,795, of which $742.76 was charged to the 1920 crop and $309.48 to the 1921 crop.  During the year 1920 it paid to such organizations $1,610, of which $546.59 was charged to the 1920 crop.  In computing the deficiency the Commissioner failed to allow any deduction for such payments.  Prior to the organization of the petitioner in 1898, one H. P. Faye was engaged in the cultivation of sugar cane lands under a sublease of such lands from one V. Knudsen.  W. Meier and E. Kruse were likewise in 1898 cultivating sugar cane lands under a sublease from said Knudsen.  A partnership known as the Kekaha Sugar Co. operated a sugar grinding mill, also upon lands which they held under sublease from said Knudsen.  Knudsen held said lands under a lease from the Kingdom of Hawaii, dated June 1, 1890, and expiring May 31, 1920. *3209  The sublease from Knudsen to Faye expired May 31, 1920.  The sublease from Knudsen to Meier &amp; Kruse expired in 1905.  Under each of these subleases two-sixteenths of the sugar produced on the plantations was to be paid to Knudsen as rent.  Faye and Meier &amp; Kruse had grinding agreements with the Kekaha Sugar Co. under which their sugar was ground at the mill of the company, the company retaining seven-sixteenths of the sugar as compensation.  In 1898 petitioner was organized for the purpose of consolidating the plantations of Faye and Meier &amp; Kruse and the sugar mill owned and operated by the Kekaha Sugar Co., and there were transferred to the petitioner all of the assets used in the operation of those businesses, including the subleases from Knudsen which each held.  In exchange therefor the petitioner issued its capital stock, consisting of 6,000 shares of the par value of $100 each.  The subleases so acquired by the petitioner in exchange for its capital stock had no value at the time of acquisition.  *694  In July, 1898, the petitioner entered into an agreement with the widow of Knudsen under which it acquired a sublease upon certain sugar lands for a period expiring October 1, 1918, under*3210  which it agreed to pay as rental for such lands 9 per cent of all sugar up to 7,000 tons and 5 per cent of all sugar in excess of 7,000 tons manufactured annually from cane grown below the elevation of 100 feet above sea level, and 2 1/2 per cent of all sugar grown at an elevation of more than 100 feet above sea level, the annual rental to be not less than 250 tons.  Under this lease, which included the land theretofore under sublease from Knudsen to Faye, Meier &amp; Kruse, and the Kekaha Sugar Co., the petitioner undertook to proceed with reasonable diligence to the development and maintenance of an enlarged water supply for the plantation to be conducted upon the demised premises and to develop, if possible, a sweeter and fresher supply of water than then existed.  On November 11, 1907, the widow of Knudsen assigned to Augustus F. Knudsen and Eric A. Knudsen the unexpired portion of the lease from the Kingdom of Hawaii to Knudsen and on the same date said assignees entered into an agreement with the petitioner to thereafter execute to the petitioner a sublease of said lands from October 1, 1918, to April 30, 1920, upon the same terms and conditions as were contained in the original*3211  sublease.  On March 1, 1913, the petitioner was operating a sugar plantation and sugar mill upon said property and continued to hold the sublease of such property from the widow of Knudsen and the contract of her assignees for its extension to April 30, 1920.  On March 1, 1913, said sublease, together with the agreement for its extension, had a fair market value of $300,000.  In 1918 the petitioner paid as rental under the sublease $114,159.68, representing the market value of the sugar which the lessor was entitled to receive under the lease from the crop of that year.  Upon its books of account the petitioner charged one-third of such amount to the 1918 crop account, one-third to the 1919 crop account, and one-third, $38,053.22, to the 1920 crop account.  Upon its income-tax return for 1920 it deducted the amount of such payment so allocated to the 1920 crop.  In determining the deficiency the Commissioner refused to allow any part of such payment as cost of the 1920 crop.  On or about October 1, 1918, the assignees of Knudsen granted to the petitioner an extension to April 30, 1920, of the sublease which it then held.  In 1920 there was in force in the Territory of Hawaii a*3212  law which gave the Commissioners of Public Lands the right to extend the term of a lease on territorial lands for one year for the purpose of permitting the tenant to remove crops then under cultivation.  For the purpose of enabling it to take advantage of this provision of law, the petitioner entered into negotiations with the widow of Knutsen and her assignees to secure a sublease for the *695  month of May, 1920, or to secure an assignment of their interest under the lease from the Commissioners of Crown Lands to Knudsen.  On December 4, 1918, an agreement was entered into between petitioner and representatives of said Knudsens under which petitioner paid $240,000 to said Knudsens for their reversionary interest in the lease from the Commissioners of Crown Lands and in commutation and settlement of the rental for the unexpired period of the sublease.  In computing its taxable income for 1920 the petitioner deducted $130,000 on account of such payment.  In computing the deficiency for that year the respondent allowed as a deduction $96,000 of such payment.  A reasonable allowance for depreciation of the assets of the petitioner for 1920 was $112,554.38.  This amount was claimed*3213  as a deduction by petitioner upon its income-tax return.  The respondent allowed only $40,000.  Several years prior to 1920 the petitioner began the reclamation of low or swamp lands lying within the boundary of its lease.  Ditches were made from the high lands to the low lands by which storm water and silt were carried down from the hills to the low land to be reclaimed.  The reclamation was effected by the deposit of silt from the upper lands upon the swamp lands, the elevation of such lands thereby being secured.  The total amount expended by petitioner for this work to January 1, 1920, was $67,220.11.  Such cost has been amortized on the basis of the life of the lease and the cost remaining unamortized on January 1, 1920, was $9,515.39.  In computing the earned surplus of the corporation for the purpose of determining its invested capital, the Commissioner refused to allow any part of such amount to be included.  The petitioner marketed its sugar through an agency known as American Factors, Ltd.  A substantial portion of the stock of petitioner was owned by this agency.  A number of the directors of the petitioner were directors of American Factors, Ltd.  The officers of the*3214  petitioner were either substantial stockholders or officers of American Factors, Ltd.  A salary was paid to its officers by American Factors, Ltd., but no salary was paid by petitioner to any of its officers, except to the plantation manager, who also served as a vice president.  On January 1, 1920, petitioner had, among other assets, $42,444.80 cash on hand and in the bank, accounts receivable of $196,856.16, growing crops of $751,027.73, and sugar in coolers of $34,968.  It had drafts and accounts payable and accrued liabilities of $74,265.76.  The agreement between petitioner and its agents, American Factors, Ltd., provided that such agents should finance the petitioner pending the receipt by it of the proceeds of each year's crop.  Its receipts from its 1920 crop were $5,288,865.86.  *696  The fixed assets of the petitioner, substantially all of which were fixed to the leasehold premises by way of improvements thereto or buildings thereon, had cost the petitioner $1,594,547.91.  Such assets were included by the respondent in computing invested capital at a depreciated cost of $210,016.72.  The total invested capital of the petitioner, as determined by the respondent, was*3215  $2,814,880.34.  OPINION.  PHILLIPS: It is the primary contention of the petitioner that the determination of the tax liability for the year 1920 made by the Commissioner and evidenced by his letter of April 16, 1925, was a bar to the determination of any further tax liability for that year.  It is first urged that section 274 of the Revenue Act of 1924 contemplates only one determination by the Commissioner.  The Board has already determined this issue adversely to the claim of the petitioner in , where it was hed that the mailing of one deficiency notice under the Revenue Act of 1924 did not bar the determination of a further deficiency and the mailing of notice thereof.  It is further urged that the petitioner accepted the determination evidenced by the letter of March 13, 1925, and that the result was a settlement which can only be set aside for fraud or mistake.  Section 1006 of the Revenue Act of 1924, under which the determination of the deficiency was made, provides: If after a determination and assessment in any case the taxpayer has paid in whole any tax or penalty, or accepted any abatement, credit, or refund based on such*3216  determination and assessment, and an agreement is made in writing between the taxpayer and the Commissioner, with the approval of the Secretary, that such determination and assessment shall be final and conclusive, then (except upon a showing of fraud or malfeasance or misrepresentation of fact materially affecting the determination or assessment thus made) (1) the case shall not be reopened or the determination and assessment modified by any officer, employee, or agent of the United States, and (2) no suit, action, or proceeding to annul, modify, or set aside such determination or assessment shall be entertained by any court of the United States.  It is not claimed that any agreement was made in writing between the taxpayer and the Commissioner, with the approval of the Secretary, the claim being in effect that a payment of the tax has the same effect as if the agreement provided for in the Act had been made.  Congress has provided the method by which the determination and assessment may be made final and conclusive.  To adopt the petitioner's theory would be to disregard the safeguard which the law has seen fit to throw about final and conclusive settlements.  We are of the opinion*3217  that the Commissioner was authorized to make a second determination of deficiency and to notify petitioner thereof.  *697  The decision of several of the errors alleged to have been made in computing income or invested capital involves the digesting and weighing of the testimony offered and the consideration of many primary facts in arriving at one or more ultimate facts, such as that of value.  It seems unnecessary to set out or discuss such evidence in detail.  We have confined our findings to those which seem necessary or appear essential to an understanding of the case, and we limit our discussion of the evidence as much as seems possible, consistent with our purpose to indicate the basis of our decision.  In computing the deficiency for 1920 the Commissioner refused to allow as a deduction the amount of certain payments or donations made by petitioner to churches which conducted services upon its plantation and certain charitable organizations which did welfare work among its employees.  The principles which govern the deduction of contributions by corporations for such purposes have been discussed by us in *3218 ; ; , and other cases.  Without discussing the evidence in detail, we are satisfied that because of the extent of its plantation the petitioner was under the necessity of making some provision for a place of worship for its employees and that the small payments made to welfare organizations were made for the purpose of enabling those associations to continue necessary work among petitioner's employees.  Donations were made to a few organizations from which the petitioner received no direct benefit, but these have been eliminated from the amounts set forth in our findings of fact.  We are satisfied that as to the balance set out in our findings, the benefit to the petitioner was so direct as to constitute those payments ordinary and necessary expenses.  The question then arises as to whether such payments must be deducted in the year when paid or may be apportioned to the crops, as the petitioner has done upon its books.  These payments were made for the benefit of employees who were working upon three crops, and in such circumstances we are of*3219  the opinion that the payments were sufficiently related to the crops so that we may not say that the system of accounting employed by the petitioner did not, in this respect, clearly reflect its income.  The taxable income as determined by the Commissioner should be reduced by $1,632.78 and invested capital increased by $1,395.67.  The petitioner contends that upon organization it acquired, among other assets, a sublease which had a cash value of $1,300,000, which it is entitled to include in invested capital at that amount, less exhaustion thereof to the beginning of the taxable year.  The evidence discloses that petitioner acquired three subleases.  These were almost immediately replaced by a new sublease with different terms.  Substantially all the evidence and argument are directed toward *698  showing the value of the corporation as an operating unit after it had obtained this new sublease.  This has little, if any, bearing upon the value of the three subleases acquired at organization.  It is this latter value, if any, which petitioner is entitled to include in its invested capital for it was these subleases which were obtained in exchange for stock.  The evidence does*3220  not indicate that petitioner obtained the new sublease from the widow of Knudsen for its capital stock and no basis exists for computing invested capital on the basis of the value of this substituted asset.  We see nothing in the record which would indicate that the subleases assigned to the petitioner by its incorporators at the time of organization had any value.  According to the oral testimony these leases provided for a rental of two-sixteenths of the crop.  The new sublease which superseded them provided for a much smaller rental.  Such a situation does not indicate that the subleases received from the incorporators had a substantial value.  The picture which we visualize from the record is that of two plantations and a mill theretofore operated with indifferent success, reorganizing and combining their resources with the aid of their landlord in an attempt to arrive at a result which would permit of successful operation.  It is our opinion that neither the three subleases originally acquired or the new sublease which replaced them, had any cash or market value at the time of acquisition.  The Commissioner properly refused to allow any amount to be included in invested capital*3221  for such subleases.  At March 1, 1913, however, the situation was different.  In 1907 extensive additions were made to the irrigating system which permitted not only of the cultivation of higher lands but produced a better and greater supply of water for the lower lands, which were the only lands under cultivation prior to 1907.  By 1913 the operations of the company had been conducted profitably over a number of years.  In , we have had occasion to discuss some of the factors to which consideration must be given in determining the March 1, 1913, value of leaseholds of sugar lands in the Hawaiian Islands.  Much of what was said there is equally applicable here.  The remaining life of the lease was short.  This is particularly important when we consider that the sugar industry was considered as facing a period during which profits probably would decrease.  On the other hand, the improvements placed upon the property were valued at a small fraction of their original cost.  Considering the size of the plantation, the initial cost of the improvements at the depreciated values assigned to them by both parties would be comparatively*3222  small, but it would have to be recovered in a short period unless the lessee could secure a new lease.  Here lies a factor deserving of much consideration.  *699  The lessee in possession would be the logical person to secure a lease.  Among other things, there would be no interruption of operation and no loss of income or rentals such as would result from a change of tenants where the crop takes two years to mature.  The tenant in possession could afford to pay more than a new tenant, and the landlord could afford to take less because of this continuity of operations.  Upon the basis on which the improvements were valued, the lease would have been attractive to one who believed he could secure a new lease at a reasonable rental.  There was no reason to suppose this would not be done, at least as to a large part of the lands.  We have no intention of intimating that the March 1, 1913, value should include any value for a new lease which would presumably be negotiated at current rentals or should include any part of the exhaustion deducted in arriving at the March 1, 1913, value of the improvements.  There can be no question, however, that any purchaser would have seriously considered*3223  what advantage he would have as owner of the existing lease in obtaining a new lease, and that this is properly to be considered in arriving at the value.  It is our opinion that on March 1, 1913, petitioner's leasehold interest had a fair market value of $300,000 in excess of the value of the improvements thereon, and that in computing taxable income it is entitled to deduct a reasonable allowance for the exhaustion thereof.  Although in the lease it was provided that the petitioner should pay its rental in sugar, it was customary for the petitioner to market such sugar and pay the lessor the market value.  In 1918 it paid $114,159.58 as the rental for that year.  One-third of this was charged on its books to the 1920 crop and deducted in computing 1920 income.  Petitioner contends that, since the plantation was used during 1918 for the cultivation of three crops this represented a rental for all of the land and that on the crop system of accounting it may properly allocate one-third of this rental to each of the three crops.  The respondent, on the other hand, contends that such a rental payment is unlike other expenses of producing the crop and may not be allocated over three*3224  crop years, that the lease provides for a payment in kind which must necessarily be taken from the crop harvested, and that the rental may only be deducted as a part of the cost of such crop.  We are of the opinion that the respondent is correct in his contention.  The proof of this may be seen if we look at the situation in which the petitioner would have found itself had it not been able to secure the renewal of its leases beyond 1920.  In such a situation, following the basis on which the 1918 rental was apportioned, the rental paid in 1919 would have been apportioned one-half for the crop of that year and one-half for the crop of 1920, and the rental paid for 1920 would all have been apportioned to the 1920 crop, for the *700  petitioner would not have cultivated any 1921 or 1922 crops and could therefore not have charged any part of the rent for 1920 to such crops.  The result would be that the 1920 crop would be charged as rental with one-third of the rent paid in 1918, one-half of the rent paid in 1919 and all of the rent paid in 1920.  Such a situation would obviously work a distortion of income.  The reverse of this situation would occur in the case of a tenant first*3225  entering upon the cultivation of lands who, under petitioner's theory, would be entitled to deduct nothing for the first two years and only one-third of the rent paid in the third year.  We are of the opinion that the rental is a direct charge against the crop from which it is paid and is deductible as a part of the cost of that crop.  It follows that the Commissioner was correct in refusing to allow a deduction in 1920 of $38,053.22 of the amount paid in 1918, and in refusing to allow that amount to be included in earned surplus as a part of the cost of the 1920 crop.  In December, 1918, the petitioner paid $240,000 in order to secure the remainder interest held by the Knudsens under their lease from the Kingdom of Hawaii (the lease having been made before Hawaii became a territory of the United States) and in settlement of the rents which would become due during the remainder of the period for which it had a sublease.  Incomputing its income it deducted as rental $130,000 of this amount.  The Commissioner disallowed $34,000.  It is contended by the petitioner that $30,000 of this amount was paid specifically for the month of May, 1920, being the unexpired portion of the lease held*3226  by the Knudsens.  The only evidence of this is that the directors at a meeting authorized the payment of $30,000 to secure these rights.  There is nothing to indicate that when the agreement was reached between petitioner and the Knudsens any specific amount was paid for this month.  The agreement appears to have been reached on the basis of a lump-sum payment of $240,000 for the balance of the term and it is our opinion that the payment must be treated on this basis.  Aside from their difference with respect to this item of $30,000, counsel for the parties are now agreed that the payment should be distributed over 29 months and that twelve-twenty-ninths is the proper deduction for 1920.  The income and invested capital should be adjusted accordingly.  The Commissioner reduced the amount of depreciation claimed by the petitioner from $112,554.38 to $40,000.  This is now conceded by his counsel to have been in error and the income should be adjusted accordingly.  Over a period of several years the petitioner had reclaimed swamp lands near the shore by diverting the water which ran down from the hills in the rear of its plantations into such swamps, causing the silt to be deposited*3227  there and gradually raising the elevation until in 1920 it had reclaimed some 300 or more acres, all of which it had *701  under cultivation and which had proved to be very productive.  In so doing it was necessary to construct ditches from time to time.  In his determination of invested capital the Commissioner treated these payments as annual expenses to be charged off each year and refused to permit any part of the amount so expended to be included in computing the earned surplus of the petitioner.  At the hearing the Commissioner sought to show that these ditches were used for the purpose of protecting the lands of the petitioner against inundation by heavy rainfalls in the hills, but was not successful in that effort.  The primary purpose of the ditches and drains constructed by the petitioner appears to have been to permit the reclamation of these low lands and there seems to be no doubt on the record before us that petitioner is entitled to include the unamortized cost in computing its earned surplus.  See . The petitioner claims to be entitled to assessment under section 328 of the Revenue Act of 1918.  It urges that no salaries*3228  were paid to its officers, thereby creating an abnormal condition.  There is nothing to indicate that any of the officers devoted a substantial portion of their time to the affairs of the petitioner and it appears that it was not customary on the Islands for sugar companies to pay salaries to their officers.  These officers apparently functioned much as do directors of a corporation, dealing with the general interests of the corporation but leaving the details to others who were paid.  We see nothing abnormal in this situation.  The petitioner further urges as a ground for special assessment under section 328 of the Act that an abnormality exists because the business of the petitioner was conducted so largely upon leased lands, whereby the necessity for a capital investment in real estate was unnecessary.  We believe that this claim for special assessment disappears when it is considered that the petitioner was entitled to a deduction of the amount of the rental paid and also a deduction for the amortization of the March 1, 1913, value of the leaseholds, neither of which deductions would be granted in the case of a corporation owning its lands in fee.  Moreover, it appears that each*3229  of the corporations submitted by the petitioner is comparatives is in much the same situation as the petitioner, operating their plantations largely under leases.  It is urged by the petitioner that an abnormality exists because of the small amount of working capital which it was necessary for the petitioner to provide.  This was due to the fact that American Factors, Ltd., who were the agents of the petitioner for the purpose of selling its sugar, were under an agreement to finance the operations of the petitioner pending the sale of its crop.  We see nothing abnormal in this situation, for presumably the agents were compensated *702  by the commission which they received for acting as such, which in turn served to reduce the taxable income of the petitioner.  The claim of abnormality most seriously urged by the petitioner is that while its physical assets were acquired at a cost in excess of $1,500,000, these assets were reflected in its invested capital for 1920 at $210,000.  This was due to the fact that at January 1, 1920, the petitioner's lease had only a short period to run and that the cost of the assets had been amortized over the period of the lease.  It is claimed*3230  by the petitioner that this created an abnormality in its invested capital as compared with other corporations in the same business.  The primary purpose of the invested capital provisions of the excess-profits-tax laws has been to provide for a certain return upon capital invested in the business before taxes were assessed upon the balance of the earnings.  When the amount is invested in assets having a fixed or determinable life, provision is made in the act for allowing a return of the capital invested by way of a deduction for the exhaustion thereof.  In this way the capital invested is returned free of any tax over the useful life of the assets.  It is for this reason that the $1,500,000 originally invested in assets has been reduced to $210,000.  This latter figure represents the amount which the petitioner had originally invested in tangible assets and which it had not recovered free of tax by way of a deduction in computing income Although the amount originally invested in these assets was substantially larger, all that was at risk in the business in 1920 was the unexhausted or undepreciated cost.  It is on this amount that the taxpayer is entitled to earn the credit provided*3231  by the law before the profits tax is computed upon the balance of its income.  It must also be understood that by reason of the shorter life of the petitioner's lease, its annual deduction for depreciation and exhaustion of its assets is greater, thus serving to reduce its annual taxable income.  We are of the opinion that the taxpayer has not established any abnormal condition affecting either its income or its capital which entitled it to a computation of its tax under section 328 of the 1918 Act.  Decision will be entered under Rule 50.